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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

 JAMES DONDERO,                        §
                                       §
       Appellant,                      §
                                       §
 v.                                    §     Civil Action No. 3:21-CV-1590-N
                                       §
 HIGHLAND CAPITAL                      §
 MANAGEMENT, L.P.,                     §
                                       §
       Appellee.                       §

                             NOTICE OF APPEAL

      James Dondero hereby appeals to the United States Court of Appeals for the

Fifth Circuit from this Court’s Order entered on August 17, 2022 [Dkt. # 42]

affirming in part the bankruptcy court’s contempt order issued on June 7, 2021. The

parties to this appeal are James Dondero (who is represented by the undersigned

counsel) and Highland Capital Management, C.P. (which is represented by the law

firms of Pachulski Stang Ziehl & Jones LLP; Robbins, Russell, Englert, Orseck &

Untereiner LLP; and Hayward PLLC).
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                               Respectfully submitted,
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                               Attorneys for James Dondero




                            CERTIFICATE OF SERVICE

      I hereby certify that this Notice of Appeal was served via the Court’s CM/ECF
System on counsel for Appellee on this 15th day of September, 2022.

                               /s/ Jeffrey S. Levinger
                               Jeffrey S. Levinger




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